                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                   1:07CR69-21


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )               ORDER
                                                  )
ROBERT MERRYMAN,                                  )
                                                  )
                  Defendant.                      )
________________________________________          )


       THIS MATTER coming on to be heard before the court, pursuant to an oral order

made by defendant’s counsel, Tony E. Rollman, on October 16, 2007. In the oral motion,

Mr. Rollman advised that the defendant, who was scheduled to appear for a Rule 11

proceeding on the 16 th , had become ill and had been hospitalized at the Valdese Hospital in

Valdese, NC. Mr. Rollman reported that the defendant had been subject to ill health for a

period of time due to a heart condition and that the information provided to Mr. Rollman was

that the defendant was having significant heart problems. The Government had no objection

to Mr. Rollman’s motion for a continuance.




                                          ORDER

       IT IS, THEREFORE, ORDERED that the Rule 11 proceeding in the above entitled

matter is CONTINUED until October 25, 2007 at 2:00 o’clock p.m.




      C      a     s     e1     :     0     7     -     c     r    -      0    0     0     6    9   -D
                                Signed: October 18, 2007




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